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                                         Attorneys for Defendants

                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


WINVIEW INC.,                                   Civil Action No. 21-13405 (ZNQ) (DEA)
                     Plaintiff,

       v.

DRAFTKINGS INC., a Nevada corporation,                     NOTICE OF MOTION
DRAFTKINGS INC., a Delaware corporation,
and CROWN GAMING INC., a Delaware
corporation,

                     Defendants.


To:    All Persons on ECF Service List

       PLEASE TAKE NOTICE that on Tuesday, January 18, 2021 at 10 a.m. or as soon

thereafter as counsel may be heard, the undersigned counsel for Defendants shall move before

Hon. Zahid N. Quraishi, U.S.D.J. at the Clarkson S. Fisher Federal Building and Courthouse, 402

E. State Street, Trenton, New Jersey 08608 for an Order pursuant to Fed. R. Civ. P. 12(b)(6)
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dismissing with prejudice Plaintiff’s direct infringement claims for the ’730 and ’543 patents, as

well as its claims for willful, induced, and contributory infringement for all four Asserted Patents.

       The undersigned intends to rely upon the annexed Brief.

       The undersigned hereby requests oral argument.


Dated: December 15, 2021          By: /s/ James E Cecchi
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